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                      UNITED STATES DISTRICT COURT
                    IN THE EASTERN DISTRICT OF TEXAS
                           MARSHALL DIVISION

 CAPELLA PHOTONICS, INC.,

                    Plaintiff,         Case No. 2:20-cv-77-JRG
       v.
                                       ORAL ARGUMENT REQUESTED
 INFINERA CORPORATION, TELLABS,
 INC., TELLABS OPERATIONS INC.,
 CORIANT AMERICA INC., and CORIANT
 (USA) INC.,

                    Defendants.



   INFINERA CORPORATION, TELLABS, INC., TELLABS OPERATIONS INC.,
 CORIANT AMERICA INC., AND CORIANT (USA) INC.’S MOTION TO TRANSFER
            VENUE TO NORTHERN DISTRICT OF CALIFORNIA
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I.       INTRODUCTION

         This case is far removed from Texas and this District. Plaintiff Capella is a Delaware

corporation, headquartered in San Jose, California, in the Northern District of California

(“NDCA”). It alleges no special connection to Texas in its Complaint, and this Court is not even

Capella’s first choice of forums. Each of the Defendants1 is a Delaware corporation. Defendant

Infinera Corporation, the parent company to the other named Defendants, is headquartered in

Sunnyvale, California in NDCA. The other named Defendants have very few employees, and

many of those are based in NDCA. And, critically, no relevant employees of any Defendant are in

Texas.

         Because this is the second case Capella has brought against Defendants, Capella is well-

aware of Defendants’ primary ties to California. In 2014, Capella sued most of the Defendants in

this case and other companies in the Southern District of Florida (“SDFL”), asserting infringement

of predecessor patents. All of those cases were transferred to NDCA for convenience. Capella

ultimately lost when all the claims were found invalid. Capella now seeks a different result by

again charging Defendants with infringement of (as Capella itself claims) “substantially identical”

patents in a new forum. Despite the case being in its early stages, Capella is already attempting to

relitigate issues that the NDCA court already decided; Capella filed a motion to strike Defendants’

inequitable conduct defense—a motion that it similarly pursued (and lost in relevant part) in

NDCA. And by filing a case in this District—nearly 2,000 miles from NDCA—Capella has

attempted to shield from trial the key third-party witnesses related to inequitable conduct that were



1
  Defendants herein refers to Infinera Corporation (“Infinera”), Tellabs, Inc., Tellabs Operations,
Inc. (“Tellabs Ops”), Coriant America Inc. (“Coriant America”), and Coriant (USA) Inc.
(“Coriant USA”). Except for Infinera, all other Defendants have been renamed by virtue of
acquisition by Infinera. For ease of reference, the Motion refers to each by the name used in the
case caption throughout.


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previously identified to Capella in the 2014 cases.

       SDFL has already determined, based on the same parties and “substantially identical”

patents and allegations, that NDCA is clearly convenient for the parties under 28 U.S.C § 1404(a).

Nothing of significance has since changed, except to make NDCA even more convenient based on

the interests of judicial economy, given its familiarity with the parties, the patent family, and the

issues presented.

II.    FACTUAL BACKGROUND

       On March 17, 2020, Capella filed this lawsuit against Defendants, alleging infringement

of U.S. Patent Nos. RE47,905 (“the ’905 patent”) and RE47,906 (“the ’906 patent”) (collectively,

the “Patents-in-Suit”). Dkt. 1 ¶¶ 31, 34; Exhibit A, Declaration of Sarah J. Guske (“Guske Decl.”),

Exs. 36-37. The ’905 and ’906 patents were both issued on March 17, 2020, from reissue

proceedings of U.S. Patent No. RE42,368 (“the ’368 patent”) and RE42,678 (the “’678 patent”)

(collectively, “the Predecessor Patents”). Guske Decl., Ex. 8-9.

       A.      Capella Litigated the Predecessor Patents in NDCA

       In 2014, Capella filed a patent infringement complaint in SDFL, alleging that Tellabs, Inc.,

Tellabs Ops, and Coriant USA infringed the Predecessor Patents in Capella v. Tellabs, No. 14-

60350 (“Capella-Tellabs”). Guske Decl., Exs. 59 ¶¶ 20, 26; Ex. 60. On the same day, Capella also

filed three other cases in SDFL asserting infringement of the same two Predecessor Patents against

Ciena, Cisco, and Fujitsu.2 Pursuant to § 1404(a), SDFL transferred the First Wave Cases to

NDCA, finding it clearly more convenient than SDFL given the proximity of NDCA to the key

witnesses in the case. Guske Decl., Ex. 38.



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  Capella v. Ciena Corporation, No. 14-20530 (“Capella-Ciena”); Capella v. Cisco Systems,
Inc., No. 14-20529 (“Capella-Cisco”); and Capella v. Fujitsu Network Communications, Inc.,
No. 14-20531 (“Capella-Fujitsu”) (collectively, with Capella-Tellabs, “the First Wave Cases”).

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       The Honorable Edward M. Chen presided over the cases in NDCA. Judge Chen conducted

six hearings over the nearly six-year history of the case. Of note, Judge Chen analyzed and denied

in relevant part Capella’s motion to strike Cisco’s and Fujitsu’s counterclaims and defenses of

inequitable conduct based on failure to disclose U.S. Patent No. 6,798,941 (“the Smith patent”) to

the Patent Office during the original prosecution or subsequent reissue proceedings, finding it

sufficiently pled. Guske Decl., Exs. 39-40. Judge Chen then stayed the litigation pending the inter

partes review (“IPR”) proceedings of the Predecessor Patents. Id., Ex. 41. All asserted claims in

the litigation were determined invalid in the IPRs, and the Federal Circuit summarily affirmed that

determination. See Capella Photonics, Inc. v. Cisco Sys., Inc., 711 F. App’x 642 (Fed. Cir. 2018).

       During the pendency of the IPR proceedings, Capella pursued reissue of the Predecessor

Patents, culminating in the issuance on March 17, 2020 of the Patents-in-Suit. Capella even alleges

in this case that the Patents-in-Suit are substantially identical to the Predecessor Patents. Dkt. 1

¶¶ 32, 35 (“One or more claims of the ’905 patent is substantially identical to one or more claims

of the original ’368 patent,” and “[o]ne or more claims of the ’906 patent is substantially identical

to one or more claims of the original ’678 patent.”); see also Guske Decl., Ex. 42 at 2-3 (asserting

that “[c]laims in these newly reissued patents that are substantially identical with the original

claims”) (quoting Capella). Capella also alleges that this case is sufficiently related to the earlier

Capella-Tellabs case from the First Wave as to give rise to notice of infringement by Infinera since

at least 2014. See Dkt. 1 ¶ 40.

       On March 16, 2020, Cisco filed a declaratory judgment complaint in NDCA of

noninfringement of the Patents-in-Suit. See Cisco v. Capella, No. 20-01858 (N.D. Cal.) (“Cisco

DJ Action”). Cisco alleges that it had a reasonable apprehension of suit based on Capella’s

statements during the reissue proceedings regarding similar claim scope of the Patents-in-Suit.




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Guske Decl., Ex. 43 ¶¶ 21, 32; see also id. Ex. 44 ¶¶ 4-7, 25, 40. Capella counterclaimed for

infringement of the Patents-in-Suit, and Cisco has since asserted many of the same defenses that

Defendants asserted in this case: invalidity, laches, estoppel, waiver, license, and prosecution

history estoppel. Cisco DJ Action, Dkt. 32 at 25-26 (July 1, 2020). Likely knowing that filing a

substantially similar case in its first-choice forum (SDFL) would result in another transfer—

Capella decided to file three new complaints, against the parties from the First Wave, across two

other districts far outside the subpoena power of California courts. One day after Cisco’s DJ

Action, Capella filed two complaints in this District—this case against Defendants and a second

against Fujitsu (Capella v. Fujitsu, No. 20-00076)—and a third complaint in the District of

Maryland against Ciena (Capella v. Ciena, No. 20-00702)—all of which asserted infringement of

the Patents-in-Suit. NDCA has since found the Cisco DJ Action related to the 2014 Capella-Cisco

action (from the First Wave) and reassigned the Cisco DJ Action to Judge Chen. Cisco DJ Action,

No. 20-01858, Dkt. 14-15 (N.D. Cal. Apr. 1, 2020).

       B.      Capella Is a California-Based Company with No Ties to Texas

       Other than filing suit in this District, Capella has no ties to Texas; it is a Delaware

corporation and its principal place of business is in San Jose, California in NDCA. Dkt. 1 ¶ 1;

Guske Decl., Exs. 1, 2, 38 at 4. As to Texas or this District, Capella does not allege that it has any

offices or employees in this District, or anywhere else in Texas, nor does it allege that it makes or

supplies any product or service anywhere, much less in Texas. Cf. Guske Decl., Ex. 38 at 4.

       On the other hand, Capella has established strong connections to NDCA, many of which

are relevant to this case. In particular, six of Capella’s eight most recent senior executives are

located in NDCA—(1) Steve Real, (2) Larry Schwerin, (3) Rafael Torres, (4) George Berberis,

(5) Harvey Trop, (6) Mark Garrett—with the remaining two ((7) Christopher B. Lucas and (8)

Bruce Gray) in nearby California cities. Guske Decl., Exs. 1-3, 19, 24, 27-28, 30-31, 34-35.


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Capella’s lead counsel in this case, Robert Becker and Christopher Wagner, are also located in

NDCA. Id., Exs. 1, 4. As for the patents themselves, the ’906 and ’678 patents name Jeffrey P.

Wilde and Joseph E. Davis as inventors, and the ’905 and ’368 patents include a third inventor,

Tai Chen. Id., Exs. 8-9, 36-37. All three inventors are located in NDCA. Id., Exs. 1, 20, 21, 26.

The prosecuting attorneys for the Predecessor Patents—Barry Young, David Alberti, and Joshua

Isenberg—are also located in NDCA. Id., Exs. 1, 5-7, 29. These individuals and their relevance to

the issues in the case are summarized below:

 Name                    Location               Relevance to Issues in Case
 Christopher B. Lucas    Glendale, CA           Capella’s CEO and CFO, relevant to valuation
                                                of, the commercial success/failure of, and any
                                                licensing or enforcement for the patents-in suit
 Steve Real              Corte Madera, CA       Capella’s Secretary, relevant to valuation of,
                                                the commercial success/failure of, and any
                                                licensing or enforcement for the patents-in suit
 Harvey Trop             Fremont, CA            Capella’s former VP, Quality & Reliability,
                                                relevant to valuation of, the commercial
                                                success/failure of, and any licensing or
                                                enforcement for the patents-in suit
 Rafael Torres           San Jose, CA           Capella’s former CFO, relevant to valuation
                                                of, the commercial success/failure of, and any
                                                licensing or enforcement for the patents-in suit
 George Berberis         San Jose, CA           Capella’s former COO, relevant to valuation
                                                of, the commercial success/failure of, and any
                                                licensing or enforcement for the patents-in suit
 Larry Schwerin          Saratoga, CA           Capella’s former CEO, involved in prosecution
                                                of Predecessor Patents and relevant to
                                                inequitable conduct
 Bruce Gray              El Dorado Hills, CA    Capella’s former President, relevant to
                                                valuation of, the commercial success/failure
                                                of, and any licensing or enforcement for the
                                                patents-in suit
 Mark Garrett            Morgan Hill, CA        Capella’s former Director of Optical
                                                Engineering, involved in prosecution of
                                                Predecessor Patents and relevant to inequitable
                                                conduct
 Robert D. Becker        San Francisco, CA      Capella’s Lead Counsel
                         and Palo Alto, CA
 Christopher L.          San Francisco, CA      Capella’s Lead Counsel
 Wagner


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    Jeffery P. Wilde      Los Altos, CA          Named inventor on the Predecessor Patents
                                                 and Patents-in-Suit, and relevant to inequitable
                                                 conduct, and conception and reduction to
                                                 practice
    Joseph Davis           Morgan Hill, CA       Named inventor on the Predecessor Patents
                                                 and Patents-in-Suit and Capella’s former CEO;
                                                 involved in prosecution of Predecessor Patents
                                                 and relevant to inequitable conduct, and
                                                 conception and reduction to practice, valuation
                                                 of, the commercial success/failure of, and any
                                                 licensing or enforcement for the patents-in suit
    Tai Chen               San Jose, CA          Named inventor on one of the Predecessor
                                                 Patents (the ’368 patent) and one of Patents-in-
                                                 Suit (the ’905 patent), and relevant to
                                                 inequitable conduct, and conception and
                                                 reduction to practice
    Barry Young            Los Altos, CA         Patent prosecutor for Capella for the
                                                 Predecessor Patents; relevant to inequitable
                                                 conduct
    Joshua Isenberg        Fremont, CA           Patent prosecutor for Capella for patents
                                                 related to the Predecessor Patents; relevant to
                                                 inequitable conduct
    David Alberti         San Francisco, CA      Patent prosecutor for Capella for patents
                                                 related to the Predecessor Patents; relevant to
                                                 inequitable conduct

          Capella itself has identified three individuals—including two of the above-identified

individuals, Christopher Lucas and Steve Real—as the only relevant Capella witnesses in its initial

disclosures. Guske Decl., Ex. 52.3 Other than “[u]nidentified current and former employees of

Defendants and suppliers,” Capella identifies only one other relevant witness: Jason Eisenberg of

the law firm of Sterne Kessler Goldstein & Fox. Id. The Patents-in-Suit were prosecuted by Mr.

Eisenberg and Sterne Kessler, located in Washington, DC and not in Texas. Guske Decl., Ex. 18.

Mr. Eisenberg’s statements are also relevant to Defendants’ inequitable conduct defense. See Dkt.

22 at 35-38 ¶¶ 65-70.




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  The third individual, Rick Snyder, could not be located and Capella provided no contact
information for him.


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       C.      Defendants Are California Companies or Have Strong Ties to California

       None of Defendants in this case are Texas companies or have strong ties to Texas; instead,

all are Delaware corporations. Exhibit B, Declaration of Jianwei Guo (“Guo Decl.”) ¶¶ 18-22, 25.

       Infinera is the parent company to the other named Defendants, having acquired each of

those companies by 2018—while the Capella-Tellabs First Wave case was stayed. Dkt. 1 ¶¶ 13-

16; Guo Decl. ¶ 7. Infinera is headquartered in Sunnyvale, California in NDCA. Dkt. 1 ¶ 2; Guo

Decl. ¶ 18; Guske Decl., Exs. 32, 48. By virtue of the acquisition, each of the other Defendants, as

subsidiaries of Infinera, operate under the Infinera brand, were renamed to adopt the “Infinera”

namesake, and, for the operating Defendants, regularly conduct their business from the Sunnyvale

headquarters in NDCA. Tellabs, Inc. was renamed to “Infinera Optical Holding, Inc.,” Guske

Decl., Ex. 49; Tellabs Ops was renamed to “Infinera Optical Networks, Inc.,” id. Exs. 46, 50;

Coriant America was renamed to “Infinera America Inc.,” id., Ex. 51; and Coriant USA was

renamed to “Infinera (USA) Inc.,” id., Ex. 33, 47. See also Guo Decl. ¶ 7. Each is a Delaware

corporation. Guo Decl. ¶¶ 19-22. Tellabs, Inc. is a holding company that makes no products and

provides no services. Id. ¶ 19. Other than a few C-suite executives (five of which are located in

northern California and based in the Sunnyvale office) and fewer than 20 employees of Coriant

America (none of which are located in Texas), none of the other Defendants has any employees.

Id. ¶¶ 20-22; Guske Decl., Exs. 53-57.

       Also by virtue of the acquisition, Defendants’ documents were migrated into Infinera’s

document management systems in Sunnyvale. Guo Decl. ¶¶ 26-27. Therefore, Defendants’ key

technical, sales, and financial documents related to the Accused Infinera Products in this case are

generally accessible via the document management systems at Infinera’s Sunnyvale corporate

headquarters. Id. None of Defendants design the Accused Infinera Products in Texas. Id. ¶ 11.

Rather, the primary activities related to the design of the FlexILS platform occur at Infinera’s


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headquarters in Sunnyvale, California and in Canada, and, for the accused 7100 Series, 7300

Series, and mTera platforms, primarily in Germany and China, and none in Texas. Id.

       D.      Associated Evidence and Witnesses Related to Capella’s Infringement
               Allegations, Which Focus on WSS Components of the Accused Infinera
               Products, Are Located in NDCA

       In this case, Capella accuses the “7300 Series,” “7100 Series,” “mTera,” and “FlexILS”

platforms of infringement (collectively, “the Accused Infinera Products”). Dkt. 1 ¶ 42; Guske

Decl., Ex. 25. Capella alleges that the Accused Infinera Products infringe the Patents-in-Suit by

virtue of their “ROADM functionality,” which “is delivered using Wavelength Selective Switch[s]

(WSS)” (the “WSS components”). Dkt. 1 ¶ 57; see also Guske Decl., Ex. 25. In its infringement

contentions, Capella makes clear that these WSS components, incorporated in the Accused

Infinera Products, are at the heart of its infringement allegations in this litigation. See generally

Guske Decl., Ex. 25 (identifying the “WSS switching modules” in Accused Infinera Products as

satisfying multiple claim elements in all asserted claims).

       Importantly, none of Defendants themselves design, develop, or manufacture the WSS

components used in the Accused Infinera Products. Guo Decl. ¶¶ 11-12. The WSS components

are instead supplied by       independent and non-affiliated vendors—




                                                                      Id. ¶ 12. Historically, the vast

majority of the WSS components used in the Accused Infinera Products have been supplied by

                                . Id. ¶ 14.


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Decl., Exs. 53-57; Dkt. 1 ¶¶ 2-12, 18-19 (conceding venue for all Defendants is based, in part, on

regular and established place of business of Infinera). The Accused Infinera Products have been

offered for sale in many states, including in California. Guo Decl. ¶ 10. Defendants are each

subject to personal jurisdiction in NDCA for purposes of this action. 28 U.S.C. §§ 1391(b)-(d).

       B.      Private Interest Factors Strongly Favor Transfer

       Relative ease of access to sources of proof: Sources of proof here are more easily accessible

in NDCA than in this District because the vast majority of the parties’ fact witnesses reside in

NDCA. See In re TS Tech USA Corp., 551 F.3d 1315, 1320-21 (Fed. Cir. 2008). Capella’s relevant

evidence and witnesses are located at its headquarters in NDCA, as identified in its initial

disclosures. See supra Section II.B; Guske Decl., Ex. 52. Most of Defendants’ documents are

located or accessible in NDCA. See supra Section II.C; Guo Decl. ¶¶ 26-27. And technical, design,

development, and sales documents, and other material (e.g., prototypes) related to the WSS

components—which appear to be at the heart of this dispute—likely are located at or accessible in

NDCA,

                                           . See supra Section II.D. Similarly, NDCA is home to

sixteen of Capella’s own witnesses (executives, inventors, and prosecuting attorneys)—fourteen

of which reside in NDCA, two of which reside in neighboring California cities, and none of which

appear to reside in this District or Texas. See supra Section II.B. Importantly, NDCA is also home

to sources of proof related to Defendants’ inequitable conduct defense (Dkt. 22 at 20-39 ¶¶ 12-

73), including Capella’s CEO Larry Schwerin (Saratoga, CA), its former CEO and named inventor

on the Predecessor Patents and Patents-in-Suit Joseph Davis (Morgan Hill, CA), and its

prosecuting attorney Barry Young, Esq. (Los Altos, CA). See id.; see supra Section II.B.

Conversely, none of the relevant documents or sources of proof are located in this District. Guo

Decl. ¶¶ 11, 15-16. Thus, this factor weighs strongly in favor of transfer. TS Tech, 551 F.3d at


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1320-21.

       Compulsory process for witness testimony: Many of the important witnesses in this case

related to noninfringement, damages, and inequitable conduct will be non-party witnesses, the vast

majority of whom reside in NDCA. See supra Section II. For noninfringement and damages, this

includes the third-party WSS vendors

                                                                                 Many of the key

witnesses related to Defendants’ inequitable conduct defense—Mark Garrett, Joseph Davis,

Jeffrey Wilde, Tai Chen, Barry Young, Joshua Isenberg, David Alberti—are also third-party

witnesses who reside in NDCA. Id.; Dkt. 22 at 20-22 ¶¶ 12-17. NDCA will be able to secure

attendance of these nine third-party witnesses at trial using its subpoena power. ICHL, LLC v. NEC

Corp. of Am., No. 5:08CV175, 2009 WL 1748573, at *8-10 (E.D. Tex. June 19, 2009) (finding

factor weighs in favor of transfer when transferee court had subpoena power over inventor, patent

owner, prosecuting attorney, and other fact witnesses); In re Genentech, Inc., 566 F.3d 1338, 1345

(Fed. Cir. 2009). Litigating in this District will prevent Defendants from subpoenaing these

witnesses to testify at trial about issues related to inequitable conduct. In sharp contrast,

Defendants are unaware of any material witnesses that reside in Texas or within this District’s

subpoena power. Guo Decl. ¶¶ 19-22. This factor weighs heavily in favor of transfer.

       Cost for willing witnesses: The majority of the parties’ fact witnesses appear to reside in

NDCA. See TS Tech, 551 F.3d at 1320; see supra Section II.B-C. The convenience of transferring

this case to Capella’s and Defendants’ shared home forum in NDCA heavily outweighs litigating

this case in this District, where Capella appears to have no offices or relevant employees. In re

Nintendo Co., 589 F.3d 1194, 1198-99 (Fed. Cir. 2009). This factor strongly favors transfer.

       Practical considerations: Because Capella’s and Defendants’ California headquarters are




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located in NDCA, it would be less costly and more efficient for the parties to litigate this case in

their shared home forum in NDCA, which is the same forum where the Cisco DJ Action will

inevitably go forward as the first-filed case involving the Patents-in-Suit and involves the same

defenses of invalidity and estoppel, among others. Indeed, Capella itself has emphasized the

importance of keeping all four of the First Wave Cases together in the same court. See, e.g., Guske

Decl. Ex. 61 at 19-20. The same logic applies to this case, especially for the issues common to

both Cisco and Defendants, which strongly favors transfer.

       C.      Public Interest Factors Strongly Favor Transfer

       Judicial economy: The “interest of justice” and “judicial economy” “‘may be determinative

to a particular transfer motion, even if the convenience of the parties and witnesses might call for

a different result.’” Regents of the Univ. of Cal. v. Eli Lilly & Co., 119 F.3d 1559, 1565 (Fed. Cir.

1997) (citation omitted); see also Invitrogen Corp. v. Gen. Elec. Co., No. CIV A 6:08CV112, 2009

WL 331891, at *4 (E.D. Tex. Feb. 9, 2009). Because Judge Chen in NDCA has extensive

familiarity with the technology, the substantially identical claims of the Predecessor Patents, the

issues of invalidity, inequitable conduct, and estoppel that were raised in the First Wave Cases,

supra Section II.A, and because he will preside over the Cisco DJ Action, judicial economy

counsels strongly in favor of transfer. Invitrogen, 2009 WL 331891, at *4-5 (citation omitted)

(finding transfer of substantially related case preserves judicial economy when transferee court

was “intimately familiar” with technology, having presided over previous cases involving some of

the asserted patents, several of the same accused products, and essentially the same parties);

Regents, 119 F.3d at 1565 (“the interest of judicial economy may favor transfer to a court that has

become familiar with the issues”); In re Vistaprint Ltd., 628 F.3d 1342, 1344 (Fed. Cir. 2010)

(noting that it promotes judicial economy for the same judge to hear related cases). This is

especially salient because Capella has already revealed that it intends to relitigate issues already


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resolved by Judge Chen by seeking to strike Defendants’ inequitable-conduct defense as

insufficiently pled (Dkt. 36)—raising nearly identical arguments that it raised (and lost) against

Cisco and Fujitsu in the First Wave Cases (compare id., with Guske Decl., Ex. 63). Defendants’

allegations of inequitable conduct for the Smith patent are nearly identical to Cisco’s and Fujitsu’s

allegations in the First Wave Cases, which Judge Chen found sufficiently pled. Guske Decl., Ex.

40. Judicial economy heavily favors transfer to prevent Capella from relitigating the same issues

in a new forum, resulting in a colossal waste of judicial resources and to avoid disrupting judicial

comity and creating conflicting rulings on the same issue from different courts.

       Local interests: NDCA has a strong local interest in adjudicating this case because many

of the key individuals related to the claims and defenses reside in or near NDCA. See In re

Hoffman-La Roche Inc., 587 F.3d 1333, 1336 (Fed. Cir. 2009) (whether the case “calls into

question the work and reputation of several individuals residing in or near that district”). Capella,

its executives, the inventors, the prosecution attorneys

          are located in NDCA. See supra Section II.C-D. This District, on the other hand, has no

connection or local interest to the facts of this case. Guo Decl. ¶ 16.

       Capella purports to show a local interest to Texas in two ways. First, it points at two alleged

office locations of Defendants in Coppell, TX and Dallas, TX. Dkt. 1 ¶¶ 2-3, 9, 11. Neither office

location is currently, nor has been at any time during the pendency of this lawsuit, occupied or

used by Defendants to conduct their business. Guo Decl. ¶¶ 23-24. Defendants subleased part of

the Coppell office to an unrelated company in 2016 and, by virtue of the acquisition, Defendants

fully vacated that office in May 2019, well before this suit was filed. Id. ¶ 23. Defendants have no

employees there, other than individuals who provide janitorial or maintenance services to the

subleasee. Id. The Dallas office is not affiliated with any Defendant; rather, it is affiliated with




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another “Tellabs” entity that Infinera did not acquire. Id. ¶ 24; Guske Decl., Ex. 64. Defendants

have no employees who work from that Dallas office. Guo Decl. ¶ 24. Because the Accused

Infinera Products are not designed, developed, or manufactured from either location, and there are

no key witnesses who work from there, id., these offices have no relevance to this case.

       Second, Capella claims that “Infinera product(s) power CyrusOne’s Texas Internet

Exchange (IX), the first statewide IX in the United States.” Dkt. 1 ¶ 2. This claim misses the mark

because the product sold for the Texas IX is not accused in this case. In 2013, Infinera sold a

product called the “Infinera DTN” to its customer CyrusOne. Guo Decl. ¶ 6. Capella has not

identified the Infinera DTN as an accused product. See id.; Dkt. 1 ¶¶ 2, 42; see generally Guske

Decl., Ex. 25. But even if the “Infinera product(s)” were accused and relevant to the case, Infinera

sells its products in many states, Guo Decl. ¶ 10, and even CyrusOne appears to offer a national

IX, Guske Decl., Ex. 45. Consequently, the alleged activity does not give Texas any substantial

interest to this case. TS Tech, 551 F.3d at 1321 (national sales mean that “citizens of [this district]

have no more or less of a meaningful connection to this case than any other venue”). Because this

District has no specific connection to this case, and NDCA has significant interest, this factor

weighs strongly in favor of transfer.

       The remaining three public interest factors are neutral because both districts are equally

capable of applying federal patent law, have competing statistical advantages on their respective

dockets, Guske Decl., Ex. 62; Invitrogen, 2009 WL 331891, at *5-6, and these statistics are not

“of particular significance” where the plaintiff is a non-practicing entity, In re Morgan Stanley,

417 F. App’x 947, 950 (Fed. Cir. 2011).

IV.    CONCLUSION

       For the foregoing reasons, Defendants respectfully request that the Court transfer this case

to the Northern District of California.


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 Dated: July 6, 2020                       Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the above and foregoing document has been
served on this 6th day of July, 2020, to all counsel of record who are deemed to have consented to
electronic service via the Court’s CM/ECF system per Local Rule CV-5(a)(3).


                                             /s/ Kurt Pankratz
                                             Kurt Pankratz


                 CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL

        I hereby certify that the foregoing document and supporting materials are authorized to be
filed under seal pursuant to the Protective Order entered in this matter.

                                             /s/ Kurt Pankratz
                                             Kurt Pankratz


                                 CERTIFICATE OF CONFERENCE

       I hereby certify that counsel has complied with the meet and confer requirement in Local
Rule CV-7(h). The parties participated in a telephonic conference on July 6, 2020, which was
attended for Defendants by Kurt Pankratz, Sarah Guske, and Lauren Dreyer of Baker Botts, LLP
and for Plaintiff by Christopher Wanger of Manatt, Phelps & Phillips and Chad Everingham of
Ward, Smith & Hill, PLLC. No agreement could be reached, and therefore, discussions have
conclusively ended in an impasse, leaving an open issue for the court to resolve. Plaintiff opposes
this motion.

                                             /s/ Kurt Pankratz
                                             Kurt Pankratz




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